                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )       Criminal No. 2:11-00002
                                                     )       Judge Trauger
[11] JAMES ROBERT CRAWFORD                           )

                                            ORDER

       Pending before the court is a Motion to Correct or Reduce A Sentence Pursuant to 18

U.S.C. § 3582(c)(2) (Docket No. 1862), filed by the defendant pro se. Through the motion, the

defendant seeks a sentencing reduction based on Amendment 782 to the United States

Sentencing Guidelines, which became effective on November 1, 2014, as well as on other

grounds.

       Pursuant to 18 U.S.C. § 3006A, the court appoints the Federal Public Defender’s Office

or, if necessary, a member of the Federal Defender’s Panel to represent the defendant.

       The Probation Office shall prepare a revised Presentence Investigation Report and

provide a copy to counsel for the parties. Counsel for the defendant shall file any supplemental

brief in support of the reduction request within twenty (20) days of receipt of the revised

Presentence Investigation Report, and the government shall respond within fourteen (14) days.

The court encourages the parties to attempt to agree upon the appropriateness of granting the

requested relief.

       It is so ORDERED.

       ENTER this 29th day of January 2015.

                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge



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